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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
VS.                                               §         CRIMINAL NO. l 8-CR-339
                                                  §
CLINT CARR                                        §
                                                  §
                                                  §
         Defendant.                               §


                                    VERDICT OF THE JURY

We the Jury unanimously find:

The defendant CLINT CARR

                          Count 1: Controlled Substances-Conspiracy
                                       (21 u.s.c. § 846)

                            V       Guilty            _ _ _ _ Not Guilty

        If you find Clint Carr "Not Guilty," please proceed to Count 2 and do not answer
        Jury Interrogatory 1. If you find Clint Carr "Guilty," please answer Jury
        Interrogatory 1 and then proceed to Count 2.

        Jury Interrogatory 1: Do you unanimously find that the government proved beyond
        a reasonable doubt that the mixture or substance(s) contained the following? (check
        all that apply)

            ✓.        Oxycodone
            7         Hydrocodone




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Count 2: Unlawfully Distributing or Dispensing Oxycodone to Lisa Jones aka "Rita Miller"
                               on or about August 15, 2017
                            (21 u.s.c. § 841& 18 u.s.c. § 2)

                     -   -   V   - -Guilty         - - - -Not      Guilty


Count 3: Unlawfully Distributing or Dispensing Oxycodone to Lisa Jones aka "Rita Miller"
                               on or about August 17, 2017
                            (21 u.s.c. § 841 & 18 u.s.c. § 2)

                             ✓       Guilty        _ _ _ _Not Guilty

Count 4: Unlawfully Distributing or Dispensing Controlled Substances to Darius Tyler aka
                       "Derek Wilson" on or about July 26, 2017
                            (21 u.s.c. § 841 & 18 u.s.c. § 2)

                     ----    /       Guilty        - - - - Not       Guilty

      If you find Clint Carr "Not Guilty," do not answer Jury Interrogatory 4. If you find
      Clint Carr "Guilty," please answer Jury Interrogatory 4 and then proceed to Count
      5.

      Jury Interrogatory 4: Do you unanimously find that the government proved beyond
      a reasonable doubt that the mixture or substance(s) contained the following? (check
      all that apply)

           ,I     Oxycodone
          ✓       Hydrocodone




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Count 5: Unlawfully Distributing or Dispensing Controlled Substances to Darius Tyler aka
                      "Derek Wilson" on or about August 2, 2017
                            (21 u.s.c. § 841 & 18 u.s.c. § 2)

                          V      Guilty            _ _ _ _ Not Guilty

      If you find Clint Carr "Not Guilty," do not answer Jury Interrogatory 5. If you find
      Clint Carr "Guilty," please answer Jury Interrogatory 5 and then proceed to Count
      5.

      Jury Interrogatory 5: Do you unanimously find that the government proved beyond
      a reasonable doubt that the mixture or substance(s) contained the following? (check
      all that apply)

           ,/     Oxycodone
          ,C      Hydrocodone



                        Count 6: Money Laundering-Conspiracy
                                  (18 U.S.C. § 1956(h))

             _ _/ _ _ _ Guilty                     _ _ _ _ _ _ Not Guilty




Count 7: Engaging in Monetary Transactions in Property Derived from Specified Unlawful
-   Activity on or about February 24, 2017 (Down Payment to Russell & Smith Ford)
                           (18 u.s.c. § 1957 & 18 u.s.c. § 2)

             -------'✓
                     '----- Guilty                 _ _ _ _ _ _ Not Guilty




Count 8: Engaging in Monetary Transactions in Property Derived from Specified Unlawful
     Activity on or about March 17, 2017 (Down Payment to Sterling McCall Ford)
                           (18 u.s.c. § 1957 & 18 u.s.c. § 2)

             ___✓
                ___Guilty                          _ _ _ _ _ Not Guilty




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